     Case 4:24-cv-03805      Document 28       Filed on 02/24/25 in TXSD        Page 1 of 2
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                     February 24, 2025
                                                                                     Nathan Ochsner, Clerk

                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

BERNARD E. BONNER,                              §
     Plaintiff,                                 §
                                                §
v.                                              §        CIVIL ACTION NO. 4:24-CV-3805
                                                §
SHELLPOINT MORTGAGE SERVICING,                  §
     Defendant.                                 §



                                           ORDER

       Before the Court is pro se Plaintiff Bernard E. Bonner’s Motion to Compel

Discovery. ECF 27.1           The Motion to Compel does not include a certificate of

conference as required by Local Rule 7.1D. It also does not comply with Judge

Bryan’s procedures. Pursuant to Judge Bryan’s procedures concerning discovery

disputes, plaintiff and opposing counsel must confer regarding the dispute—in

person, by video, or by phone—and then submit a joint letter to the Court requesting

a conference before resorting to motion practice. The letter may be no longer than

three pages and must summarize “the dispute, the date, time and method of the


1
  The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 7.
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parties’ conference and the identity of the attendees, the outcome of the discussions,

and the relief sought from the court.”2 The Court previously ordered the parties to

exchange initial disclosures and comply with Initial Protocols for Residential

Mortgage Cases. ECF 14; ECF 25. It is therefore

       ORDERED that Plaintiff’s Motion to Compel Discovery (ECF 27) is

STRICKEN for failure to comply with Local Rules and the Court’s procedures. If

necessary, the parties may file a letter requesting a conference in accordance with

the Court’s Procedures concerning discovery disputes.



Signed on February 24, 2025, at Houston, Texas.



                                                             Christina A. Bryan
                                                        United States Magistrate Judge




2
     The Court’s      procedures      are     available on the Court’s           website.    See
https://www.txs.uscourts.gov/sites/txs/files/U.S.-Magistrate-Judge-Christina-A.-Bryan-Court-
Procedures.CABrev04.10.22.pdf.
                                               2
